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   UNITED STATES COURT OF INTERNATIONAL TRADE
   BEFORE THE HONORABLE M. MILLER BAKER, JUDGE

                                   )
HABAŞ SINAI VE TIBBI GAZLAR        )
ISTIHSAL ENDÜSTRISI A.Ş.,          )
                                   )      NON-CONFIDENTIAL
            Plaintiff,             )      VERSION
                                   )
         v.                        )
                                   )      Court No. 21-00527
THE UNITED STATES,                 )
                                   )      Confidential Business
            Defendant,             )      Proprietary Information
                                   )      Deleted from Pages 8, 10, 11.
CLEVELAND-CLIFFS INC., STEEL )
DYNAMICS, INC., and SSAB           )
ENTERPRISES LLC,                   )
                                   )
            Defendant-Intervenors. )
                                   )



    REPLY BRIEF OF PLAINTIFF HABAŞ SINAI VE TIBBI
           GAZLAR ISTIHSAL ENDÜSTRISI A.Ş.
                  (FINAL VERSION)




                                            Matthew M. Nolan
                                            Jessica R. DiPietro
                                            ArentFox Schiff LLP
                                            1717 K Street, NW
                                            Washington, DC 20006
August 5, 2022
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   UNITED STATES COURT OF INTERNATIONAL TRADE
   BEFORE THE HONORABLE M. MILLER BAKER, JUDGE

                                   )
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ISTIHSAL ENDÜSTRISI A.Ş.,          )
                                   )      NON-CONFIDENTIAL
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         v.                        )
                                   )      Court No. 21-00527
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DYNAMICS, INC., and SSAB           )
ENTERPRISES LLC,                   )
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                                   )



    REPLY BRIEF OF PLAINTIFF HABAŞ SINAI VE TIBBI
           GAZLAR ISTIHSAL ENDÜSTRISI A.Ş.




                                            Matthew M. Nolan
                                            Jessica R. DiPietro
                                            ArentFox Schiff LLP
                                            1717 K Street, NW
                                            Washington, DC 20006
July 18, 2022
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     UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE THE HONORABLE M. MILLER BAKER, JUDGE

                                   )
HABAŞ SINAI VE TIBBI GAZLAR        )
ISTIHSAL ENDÜSTRISI A.Ş.,          )
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CLEVELAND-CLIFFS INC., STEEL )
DYNAMICS, INC., and SSAB           )
ENTERPRISES LLC,                   )
                                   )
            Defendant-Intervenors. )
                                   )

       REPLY BRIEF OF PLAINTIFF HABAŞ SINAI VE TIBBI
              GAZLAR ISTIHSAL ENDÜSTRISI A.Ş.

       On behalf of Plaintiff Habaş Sinai ve Tibbi Gazlar Istihsal

Endüstrisi A.Ş. (“Habaş” or “Plaintiff”) we respectfully submit this reply

brief in response to Defendant United States’ Response to Plaintiff’s

Motion for Judgment on the Agency Record dated May 23, 2022

(amended, March 4, 2022), ECF No. 38 (“Def. Resp. Br.”), and

Defendant-Intervenors’ Response in Opposition to Plaintiff’s Motion for


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Judgement on the Agency Record dated June 14, 2022, ECF No. 39 (“D-

I Resp. Br.”).

       For the reasons set forth in Plaintiff’s Motion For Judgment On

The Agency Record filed on March 18, 2022, ECF No. 33, and as set

forth below, certain issues decided by the U.S. Department of

Commerce (“Commerce”) in the final results of the administrative

review covering the 2018-2019 period of review of the subject

merchandise are not supported by substantial evidence or otherwise in

accordance with law. Certain Hot-Rolled Steel Flat Products From the

Republic of Turkey, 86 Fed. Reg. 47058 (Dep’t Commerce Aug. 23, 2021)

(final AD results & determ. of no shipments; 2018-2019) (“Final AD

Results”), PR 115, ECF No. 25-4, Appx1078-1080, and accompanying

Issues and Decision Memorandum (“Final Results IDM”), PR 112, ECF

No. 25-3, Appx1061-1073.

I.     SUMMARY OF THE ARGUMENT

       A.      Whether Commerce applied the proper currency to
               calculate Habaş’s Home Market Sales Prices

       Commerce’s determination to rely on the Turkish Lira (“TL”)

value of Habaş’s home market (or “HM”) sales, rather than the reported

U.S. Dollar (“USD”) value is inconsistent with substantial evidence on

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the record and Commerce’s precedent. Contrary to Defendant’s and

Defendant-Intervenor’s arguments, Commerce precedent addresses the

precise scenario presented in this matter – relying on the USD-

denominated price to avoid large fluctuations in the exchange rate, as

compared to Turkish Lira. Moreover, the evidentiary record supports

relying on the USD-denominated price as reported in Habaş’s home

market sales database.

       In its home market sales database, Habaş reported the gross unit

price in U.S. Dollars and Turkish Lira. In the Turkish market, Turkish

producers, including Habaş, rely on the USD-denominated price to

avoid risk associated with large fluctuations in the exchange rate.

Habaş relied on this “transaction currency” when responding to

Commerce’s questionnaires. The factual record supports that home

market sales were made and confirmed with a U.S. Dollar value;

invoices were issued in Turkish Lira as required by Turkish law, with

the U.S. Dollar exchange rate specified, in the amount agreed upon by

the customer based on the customer communications; and customers

made their payments in U.S. Dollars.




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II.    ARGUMENT

       A.      Commerce’s Use of the TL Value of Habaş’s Home
               Market Sales Is Not Supported By Substantial
               Evidence and is Not In Accordance With Law

       Commerce has explained it will use the USD-denominated home

market sale prices, as reported, when and because the USD price

controls the ultimate amount paid by its home market customers.

Commerce has emphasized two issues for consideration:

       (1) the price for these transactions is fixed in USD at the
       time of invoicing (i.e., at the date of sale); and (2) this USD
       price controls the ultimate amount that the purchaser pays
       for the sale, {Commerce} has used the USD dollar price in
       {its} analysis.

Certain Hot-Rolled Steel Flat Products From the Republic of Turkey, 84

Fed. Reg. 30694 (Dep’t Commerce June 27, 2019) (final AD determ. &

final no shipments results; 2016-2017) (“2016-17 HRS Final Results”),

and accompanying Issues and Decision Memorandum at 10 (“2016-17

HRS Final Results IDM”). Defendant has not explained why this

standard does not apply in the current case, asserting only that

“because it was the TL values that reconciled with Habaş’s audited

financial statements, Commerce reasonably did not find that the USD

values were ‘controlling.’” Def. Resp. Br. at 16. Instead, Defendant


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argues that Commerce cannot use the USD-denominated values for

Habaş’s home market sales because the “USD values {reported by

Habaş} did not appear consistent with the actual amounts paid and

which were not reconciled to Habaş’s audited financial statements.” Id.

at 15. Defendant relies on Commerce’s statement that the “sample

sales documentation shows that the USD amount paid does not match

the USD amount on the invoice provided.” Id. at 17 (emphasis in

original). The record shows otherwise.

               1.   Substantial Evidence Supports Relying the USD-
                    Denominated Price Reported for Home Market
                    Sales

       Commerce acknowledged that “Habaş’s home market sales were

negotiated and ordered in USD and paid in USD.” Id. at 13. Although

Habaş had to invoice its home market sales in Turkish Lira pursuant to

Turkish law, it “reported the sales values in both TL and USD in its

home market sales database.” Id. The Defendant describes it as

“notable” that the sales values reconciled with the audited financial

statements are the TL reported values. Id. at 13-14. This should not be

notable to Commerce. Financial statements and tax return financial

information in Turkey are obviously in Turkish Lira, just as U.S.


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financial statements are in USD; this fact should not, and has not in

past cases, precluded the use of USD values for Habaş’s home market

sales. See, e.g. 2016-17 HRS Final Results IDM at 8 (including an

undisputed description from respondent that “Turkish law requires

companies to report financial statements in TL and to pay value-added

tax in TL” but making no mention otherwise of an analysis of the

respondent’s financial statements); see also Certain Hot-Rolled Steel

Flat Products From Republic of Turkey, 84 Fed. Reg. 68878 (Dep’t

Commerce Dec. 17, 2019) (prelim. AD results & determ. of no

shipments; 2017-2018), and accompanying Preliminary Decision

Memorandum at 15 (“2017-18 HRS Preliminary Decision Memo”)

(reporting that the USD value was converted to TL “using the exchange

rate” based on “the date it issued its home market invoice.”); Certain

Hot-Rolled Steel Flat Products From the Republic of Turkey, 85 Fed.

Reg. 63098 (Dep’t of Commerce Oct. 6, 2020) (final AD results &

determ. no shipments; 2017-2018) (“2017-18 HRS Review”) (making no

changes with respect to currency). In the 2016-17 HRS Final Results

case, Commerce relied on the USD-denominated values in the home

market while the respondent’s financial statements were reported in

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TL. 2016-17 HRS Final Results IDM at 8. Habaş is not in a unique

situation – all companies’ audited financial statements in Turkey must

be in the national currency, Turkish Lira.

       The Defendant claims that Habaş has not demonstrated that the

USD values “control the ultimate amount,” using the 2017-18 HRS

Review as an example of how a company can show that the USD values

control the ultimate amount. Def. Resp. Br. at 20 (emphasis in

original). The facts are not so different in this case as to warrant a

different result. There, the respondent “reported that it converted the

USD value to the TL-equivalent using the exchange rate from the

Turkish Republic Central Bank on the date it issued its home market

invoice.” 2017-18 HRS Preliminary Decision Memo at 15. Here, Habaş

has demonstrated that the USD price controlled the ultimate payment

amount because it provided evidence to show that prices were

negotiated in USD, and the USD to TL price conversion was included on

the invoice to the customer.

       Commerce’s determination that it “was presented with TL values

that were stated on Habaş’s invoices” is inconsistent with the

evidentiary record. See Def. Resp. Br. at 15. The Defendant and

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Defendant-Intervenor claim that the payment amount provided on the

customer’s confirmation form does not reconcile with the associated

invoice. See id. at 16; D-I Resp. Br. at 4. This is simply not true.

Habaş provided an order form, e-mail confirmation for the sale, and the

associated invoice. The customer order form and e-mail confirmation

for the sale both identify the “Efektif fiyat” – effective price – [

             ] USD, respectively for [                          ] of the

merchandise. Habaş Section A Questionnaire Response at Exh. A-8

(June 29, 2020), CR 8, PR 62, Appx1350-1360 (“Sec. A QR”); see also

Habaş Case Brief at 4 (Mar. 26, 2021), CR 154, PR 100, Appx2220

(“Habaş Case Br.”) The associated invoice includes the “unit price usd”

multiplied by the “fx rate” (foreign exchange rate) to calculate the

corresponding amount of Turkish Lira at the time of the invoice. Sec. A

QR at Exh. A-8, CR 8, PR 62, Appx1350-1360. The USD amount

provided as the “unit price” is the same on all three sales documents.

Id. This unit price is the only key element for pricing. Demonstrated in

the customer’s order form and the customer’s e-mail confirmation, the

sale was negotiated in USD, and it was that USD price used to calculate

the Turkish Lira price at the time of invoicing. Id. The TL price was

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not the driver; the USD price controls the ultimate amount the

customer paid for the sale. See id. at 14, Appx1285 (“{P}rices are quoted

and agreed in U.S. dollars.”). Contrary to Commerce’s description of the

record, the invoice specific to the sample home market sale matches the

amount negotiated in the e-mail confirmation and customer order, all in

USD. That Habaş must report its financial statements in Turkish Lira

per Turkish law is not probative evidence determinative of the

transaction price which controlled the amount for the sale. Accordingly,

Commerce’s questions relate to Habaş’s “sales process,” not its

accounting practice, which conforms with Turkish law. Sec. A QR at 13-

14, CR 8, PR 62, Appx1284-1285. The record shows that the customer

expected a price in the amount of the USD value quoted in the invoice.1

Defendant-Intervenor recognizes this fact, acknowledging “the invoice,



1
  Although Habaş has reported that it is unable to “report the date of the receipt of
payment on a transaction-specific basis because its information does not link
payments to invoices,” the payment screenshot provided by Habaş clearly
demonstrates that the amount is recorded in USD. Habaş notes that it must report
this way (one payment sample) because it works with customers based on an open
account, where payments are continuous and do not match to individual invoice
amounts. See Habaş Sec. B-C Questionnaire Response at 21 (July 13, 2020), CR
11, PR 67, Appx1628 (“Sec. B-C QR”); Sec. A QR at Exh. A-8, CR 8, PR 62,
Appx1350-1360 (providing the “amount” in USD); id. at 14, Appx1285
(explaining that “{p}urchase orders may correspond to a single invoice or more.”).

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i.e., the document establishing the relevant home market price, stated

prices in TL . . . Although the invoice also reflected an exchange rate

and a USD value.” D-I Resp. Br. at 3. The payment amount provided

in the sample invoice provided at Exhibit A-8 was controlled by the

USD-value appearing on the invoice, not the TL amount, as it was the

same USD amount as that provided in customer communications, and

the amount recorded in the supporting evidence for “payment” provided

by Habaş is obviously in USD. Sec. A QR at Exh. A-8, CR 8, PR 62,

Appx1350-1360.

       Commerce did not request supplemental information with respect

to the controlling currency for the sample sale [

             ] provided. Habaş also provided supplemental information, as

requested by Commerce, for certain home market sales. See Habaş

Supp. Sec. A-C QR at 3 and Exh. S2-4.1 (Jan. 7, 2021), CR 137, 138, PR

84, Appx1896, Appx2036-2037 (“Supp. A-C QR”). Defendant-

Intervenor’s argument in its brief, citing Commerce’s Final AD Results,

which states that Habaş “failed to provide” payment documentation is

misleading and belied by the record evidence. see D-I Resp. Br. at 4,n.2;

see also Final Results IDM at 7, 10, PR 112, Appx1067, Appx1070. In

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its supplemental questionnaire, Commerce requested “payment

documentation for {certain} home market invoices.” See Supp. A-C QR

at 3 and Exh. S2-4.1, CR 137, 138, PR 84, Appx1896, Appx2036-2037.

Habaş provided such information which related to [

                                                    ] in the form of SAP

printouts including the sales figures in its supplemental response. See

id. Although Habaş was prepared to respond to supplemental questions

from Commerce, Commerce did not request additional information to

substantiate what the record shows for its sample sale – its home

market sales were controlled by the USD-denominated value.

       Habaş acknowledges that its financial statements include audited

Turkish Lira values. However, Defendant and Defendant-Intervenor

have provided no authority to support that this fact alone means the TL

values controlled the ultimate amount the purchaser paid for the sale,

which is the test previously used by Commerce. It is not Habaş’s

audited financial statements which show the price controlling the

ultimate amount the purchaser pays for the sale or the price fixed at

the time of invoicing. Here, its communications with the customer and

the invoice demonstrate the controlling price. Further, the Defendant

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recognizes that the TL-denominated amount calculated on the invoice

(i.e., USD * forex) “reconciled with Habaş’s audited financial

statements.” Def. Resp. Br. at 16. This amount is directly related to

and derived from the USD amount on the invoice. Commerce’s decision

in the Final AD Results to focus on the TL values in Habaş’s audited

financial statements is inconsistent with its prior decisions and

treatment of respondents in prior cases.

               2.   Commerce’s Final AD Results Are Inconsistent
                    With Its Prior Decisions

       Commerce’s Final AD Results are inconsistent with its prior

determinations and, as described above, are unreasonable as they are

unsupported by the record evidence. Habaş reasonably relied on

Commerce’s decisions to regularly use the USD-denominated values.

With respect to this review, Defendant argues that “the issue is

whether Habaş’s reported sales can be reconciled to its financial

statements, thereby establishing that the reported sales are complete

and reliable.” Id. at 24. This is a departure from Commerce’s previous

decisions regarding the home market currency and Commerce’s

analysis in prior cases with similar facts. In previous determinations,



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particularly in investigations and orders on merchandise from Turkey,

Commerce has consistently relied on U.S. Dollar values for home-

market sales, when the transactional elements, including contracts,

confirmations, and payments, were made in dollars between the

respondent and the respondent’s customers in the home market. This

approach aligns with “Commerce’s normal policy, as reflected in the

questionnaire instructions,” that “‘the sale price, discounts, rebates and

all other revenues and expenses’ must be reported ‘in the currencies in

which they were earned or incurred{.}’” 2016-2017 HRS Final Results

IDM at 9 (emphasis in original) (citation omitted). This approach also

accounts for the potential distortion of “the actual home market prices”

in instances of “drastic” currency devaluation, an issue endemic to

Turkey. Certain Cold-Rolled Carbon Steel Flat Products From Turkey,

67 Fed. Reg. 62126 (Dep’t Commerce Oct. 3, 2002) (final LTFV determ.)

(“Cold-Rolled Steel Flat Products from Turkey”), and accompanying

Issues and Decision Memorandum at 4, 5 (“Cold-Rolled Steel Flat

Products from Turkey IDM”). Commerce’s failure to apply the same

analysis in this case causes a great distortion of the margin.




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       Defendant and Defendant-Intervenor argue that Commerce’s

practice as described in prior cases does not apply because “the record

does not establish that the USD price controls the ultimate amount

paid” and “the TL values . . . were the values that Habaş reconciled to

its audited financial statements.” Def. Resp. Br. at 18-19, 22 (emphasis

in original); see generally D-I Resp. Br. However, as explained above,

the record demonstrates that the USD price does control the ultimate

amount paid and, as explained in Habaş’s opening brief and below,

Commerce’s past cases recognize that financial statements in Turkey

must be in TL, without consequence to the determination of which

currency to rely upon for home market sales.

       In addition to the cases cited in Habaş’s opening brief, Commerce

also analyzed a nearly identical scenario in the less-than-fair-value

investigation of Cold-Rolled Carbon Steel Flat Products from Turkey.

In that case, the respondent

       negotiated many home market sales in USD, indexed to the
       USD sales value {and that} it issued an invoice to obtain
       from the customer the exchange rate differences, . . .
       resulting from drastic currency fluctuation in the exchange
       rate from the date of invoice to the date of payment, deriving
       the amount in Turkish lira (TL) originally agreed upon for
       the sale.

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Cold-Rolled Steel Flat Products from Turkey IDM at 2. Commerce

agreed with the respondent and used “its USD prices instead of TL

prices.” Id. at 4.

       In that case, Commerce and the respondent specifically reference

the “kur farki” or the “exchange rate differences” as an important factor

in the analysis of whether to use USD. Indeed, Commerce explained:

       When a sale is priced in USD, {respondent} has assured
       itself that it will receive an amount of TL based upon the
       exchange rate in effect at the time of invoicing. . . .
       Therefore, because: 1) the price for these transactions is
       fixed in USD at the time of invoicing; 2) this price does not
       change, with a few extraordinary exceptions, prior to
       payment; 3) the POI coincides with a time of high inflation
       and the amount invoiced in TL does not equal the USD
       amount of the sale as negotiated; and 4) price differences
       may exist for sales negotiated in USD versus those
       negotiated in TL, we have used in our analysis the USD
       price for those home market sales negotiated in USD.”

Id. at 5. The above factors were condensed into the analysis described

in Commerce’s final results in the 2016-2017 review of HRS from

Turkey, which explained that where the price for home market

transactions was “fixed in USD at the time of invoicing,” and the “USD

price controls the ultimate amount that the purchaser pays for the

sale,” Commerce will use the USD-denominated price in its analysis.



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2016-17 HRS Final Results at 10. Neither case mentions a prong of

Commerce’s analysis which requires a review of the respondent’s

financial statements to determine which currency to value home market

sales. Both cases, however, emphasize that the concerns, as described

in the Cold-Rolled Carbon Steel Flat Products from Turkey case,

resulting in the use of USD-denominated prices in the Turkish market

still exist.

       In this case, Commerce found that “an inflation rate of at least

25% existed during the comparison period based on the Turkish

producer price index.” Memorandum from L. Wang to The File, re:

Habas Sinai ve Tibbi Gazlar Istihsal Endustrisi A.S. (Habas)

Preliminary Margin Calculation Memorandum at 2, (Feb. 18, 2021), CR

144, PR 94, Appx1031. To combat the volatile exchange rate, USD-

denominated prices for sales in the home market are used. “Prices

negotiated in USD and prices negotiated in TL may be fixed differently,

and if the prices are fixed differently for those who pay in USD versus

TL, then the USD prices for sales negotiated in USD should be used to

ensure capturing the real value for those sales.” Cold-Rolled Carbon

Steel Flat Products from Turkey IDM at 5. The record shows that

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Habas negotiates USD prices with its customers and that its customers

pay in USD. See Sec. A QR at Exh. A-8, CR 8, PR 62, Appx1350-1360

(providing evidence of customer payment, which demonstrates payment

was made in USD). Historically, Commerce has considered such

evidence as support enough to rely on the USD-denominated prices in

Commerce’s home market analysis.

III. CONCLUSION

       For the reasons set forth above and in the Memorandum in

Support of Motion for Judgment on the Agency Record, Habaş Sinai ve

Tibbi Gazlar Istihsal Endüstrisi A.Ş. respectfully requests that this

Court hold that Commerce’s Final AD Results were not in accordance

with law and were not supported by substantial evidence with respect

to Commerce’s determination to continue to use the TL-denominated

price for Habaş’s home market sales. On remand, Commerce should be

ordered to revise its determination consistent with the Court’s opinion.

                                  Respectfully submitted,

                                  /s/ Matthew M. Nolan
                                  Matthew M. Nolan
                                  Jessica R. DiPietro
                                  ARENTFOX SCHIFF LLP
                                  1717 K Street, NW


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                                  Washington, D.C. 20006
                                  202-857-6013

                                  Counsel to Habaş Sinai ve Tibbi
                                  Gazlar Istihsal Endüstrisi A.Ş.


Dated: July 18, 2022




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                    CERTIFICATE OF COMPLIANCE

       Pursuant to the Court’s Standard Chamber Procedure 2(b)(1), the

undersigned certifies that Plaintiff’s Reply Brief filed on Juley 18, 2022,

complies with the word limitation requirement. The word count for

Plaintiffs’ Reply Brief, as computed by ArentFox Schiff LLP’s word

processing system is 3,265.



_/s/ Matthew M. Nolan
Matthew M. Nolan




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